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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                      ABINGDON

 UNITED STATES OF AMERICA                          )
                                                   )
        v.                                         )
                                                   )              Case No. 1:19-CR-00016
 INDIVIOR INC. (a/k/a Reckitt Benckiser            )
    Pharmaceuticals Inc.) and                      )
 INDIVIOR PLC                                      )

                                       MOTION TO SEAL

        The United States of America (“United States”) hereby moves for an order sealing its

 Application for a Post-Indictment Protective Order (“Application”) and proposed First Protective

 Order (“Proposed Protective Order”) (both submitted to the Court this same day) until further

 order of the Court, because they reflect bank account numbers.

        The United States further requests that the Court enter the Proposed Protective Order

 under seal, because it reflects bank account numbers, but with a carve-out authorizing the United

 States to share the sealed order with the banks where the accounts reside, thereby enabling the

 banks to see the account numbers.

        If this Motion to Seal is granted, the United States will file redacted versions of the

 Application and Proposed Protective Order on the public docket.

                                                   Respectfully submitted,

                                                   DANIEL P. BUBAR
                                                   First Assistant United States Attorney
                                                   Attorney for the United States, Acting Under
                                                   Authority Conferred by 28 U.S.C. § 515

                                                   /s/ Albert P. Mayer, VSB No. 86024
                                                   Randy Ramseyer
                                                   Kristin L. Gray
                                                   Joseph S. Hall
                                                   Garth W. Huston
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                                     CERTIFICATE OF SERVICE

        I certify that on January 29, 2020, I electronically filed the foregoing Motion to Seal with

 the Clerk of Court via the CM/ECF system, which will send notification of the filing to all

 counsel of record in this matter.

                                                  /s/ Albert P. Mayer, VSB No. 86024
